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March 22, 2022

VIA ELECTRONIC FILING

Hon. Elizabeth A. Wolford
Chief United States District Judge
Kenneth B. Keating Federal Building
100 State Street
Rochester, New York 14614

Re:     Garcia v. Lewis Tree Service, Inc., et al.
        Civ No. 21-cv-06393

Dear Chief Judge Wolford:

We represent Defendants in the above-referenced case. On March 10, 2022, Your Honor issued
a Decision and Order on Defendants’ Motion to Dismiss, which dismissed all claims against
individual defendant Robert Gaston and all but one claim against defendant Lewis Tree Service,
Inc. (see Dkt. 21). Pursuant to FRCP 12(a)(4)(A), Lewis Tree’s deadline to serve its answer is
Thursday, March 24. We write to respectfully request a one-week extension of Lewis Tree’s time
to answer, to March 31, 2022.

We have contacted Plaintiff’s counsel to seek his consent to this request for an extension of time,
but as of the writing of this letter we have not received a response.

Thank you for your consideration.

Very truly yours,

BOND, SCHOENECK & KING, PLLC

        /s/ Peter Wiltenburg

Peter H. Wiltenburg
Associate


cc:     Jonathan Shalom, Esq. (via ECF)
        Jessica C. Moller, Esq.




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